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                                                                January 18, 2019

 Via ECF
 Hon. Dora L. Irizarry
 U.S. District Judge
 U.S. District Court for the
   Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

               Re:       Freeman, et al. v. HSBC Holdings PLC, et al., Case No. 14-cv-
                         6601(DLI)(CLP)

 Dear Chief Judge Irizarry:

              This Firm represents Bank Saderat PLC (“BSPLC”) in the above case. The
 Moving Defendants (which term does not include BSPLC) have made submissions on Kemper v.
 Deutsche Bank AG, No. 18-1031, ___ F.3d ___ (7th Cir. 12-12-18). Most recently, the Moving
 Defendants made a further submission regarding Kemper on January 14, 2018.

                Throughout the Freeman case, BSPLC has joined in the positions of its co-
 defendants applicable to the relevant allegations and Counts in which BSPLC is included as a
 defendant. For the avoidance of doubt, BSPLC joins in the positions of the Moving Defendants
 with respect to Kemper.

                     Thank you for your attention to this matter.

                                                                Respectfully submitted,

                                                                /s/ Jeremy D. Frey

                                                                Jeremy D. Frey

 Cc:      All counsel of record (via ECF)




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